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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGI A
                             BRUNSWICK DIVISIO N




UNITED STATES OF AMERICA

                                                         CASE NO. : CR205-3 7
               V.

KATHERINE CRAPPS



                                        ORDE R


       On March 9, 2006, the undersigned conducted a hearing to determine whether

there is probable cause to believe that Defendant Crapps violated the terms of her

release as alleged in a Report filed by the United States Probation Office . Defendant

Crapps was given prior notice of the hearing and its purpose and of the alleged violations .

She appeared at said hearing, with counsel, and was given the opportunity to present

evidence in her own behalf . She was afforded the opportunity to question the witness

called against her. The testimony presented at said hearing established that there is clear

and convincing evidence that Defendant Crapps violated the conditions of her release as
alleged .

       Accordingly, it is hereby ORDERED that the pretrial release of Katherine Crapps

is revoked .

       SO ORDERED , this         ~day of March, 2006 .




                                              ITED STATES MAGISTRATE JUDGE
